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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE MIDDLE DISTRICT OF ALABAMA
                                       SOUTHERN DIVISION

AEROPOWER, LTD., et al.,                                          )
                                                                  )
         Plaintiffs,                                              )
                                                                  )
         v.                                                       )         CASE NO. 1:03-cv-889-WKW
                                                                  )              (WO)
STEVE MATHERLY, et al.,                                           )
                                                                  )
         Defendants.                                              )

                                MEMORANDUM OPINION AND ORDER

         Plaintiffs AeroPower, Ltd., and Kama International, Inc., successor to AeroPower II, Ltd.

(collectively “AeroPower”), bring this civil action against Defendants Steve Matherly (“Matherly”),

SM&T Aircraft, Inc. (“SM&T”), Aero Records and Title Company (“Aero Records”), Sharon

Shroeder (“Schroeder”), and Lori Crowell (“Crowell”) alleging claims under the Racketeer

Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§ 1961-1968. (Doc. # 158, Second

Am. Compl.) AeroPower also alleges various claims under Alabama state law against the

defendants. (Id.)

         This action is presently before the court on the motions to dismiss filed by the defendants.

(Docs. # 159 & 163.) For the reasons that follow, the court concludes that the motion to dismiss1




  1
    Aero Records, Schroeder and Crowell filed a Motion to Dismiss or for Summary Judgment on the Second Amended
Complaint and submitted evidence in support of their motion. (Doc. # 159.) AeroPower filed a responsive brief to the
motion with accompanying evidentiary support. Because the court relies solely on the pleadings in addressing the
defendants’ failure to state a claim arguments, the court treats said motion as one to dismiss under Rule 12(b)(6) of the
Federal Rules of Civil Procedure rather than a summary judgment motion. See Fed. R. Civ. P. 12(b) (“If, on a motion
asserting the defense numbered (6) to dismiss for failure of the pleading to state a claim upon which relief can be granted,
matters outside the pleadings are presented to and not excluded by the court, the motion shall be treated as one for
summary judgment and disposed of as provided in Rule 56 . . . .”). See Grossman v. Nationsbank, N.A., 225 F.3d 1228,
1231 (11th Cir. 2000) (“W hen considering a motion to dismiss, all facts set forth in the plaintiff's complaint are to be
accepted as true and the court limits its consideration to the pleadings and exhibits attached thereto.”) (internal
quotations and citation omitted) (emphasis added).
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filed by Aero Records, Schroeder and Crowell (Doc. # 159) is due to be GRANTED, and the motion

to dismiss filed by Matherly and SM&T (Doc. # 163) is due to be GRANTED in part and DENIED

in part.

                                 I. FACTS2 AND PROCEDURAL HISTORY

            The allegations in the Second Amended Complaint set forth the following facts:

A.          Facts

            This case arises out of the sale of used military aircraft. AeroPower is a foreign corporation3

which primarily engages in the purchase and resale of military-related equipment of historic value.

As part of its usual business, AeroPower sells historic military-related items to the United States

Military Museum (“USSM”) in exchange for surplus defense articles, such as helicopters and other

military aircraft. AeroPower sells the aircraft for non-military reasons to third parties. The third

parties in turn use the aircraft for non-military purposes, including construction, timber surveys, fire

control, and rescue services.

            According to AeroPower, for almost ten years, it employed Matherly4 as an independent

contractor to perform a variety of tasks, including:

                      (a)      Examining log books to determine the remaining useful life
                               that is left on the defense articles offered by the USMM;
                      (b)      Inspecting the defense articles externally to determine their
                               condition;
                      (c)      Making recommendations to AeroPower about the defense
                               articles to accept from USMM;


     2
     For purposes of considering the defendants’ motions to dismiss, the court presumes that the factual allegations in
the Second Amended Complaint are true. See Paradise Divers, Inc. v. Upmal, 402 F.3d 1087, 1089 (11th Cir. 2005).

     3
         Plaintiffs AeroPower, Ltd., and Kama International, Inc., are British W est Indies corporations.

     4
     Matherly is an Alabama resident, and his company SM&T is an Alabama corporation whose principal place of
business is in Alabama.

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                 (d)      Coordinating communications between AeroPower and
                          USMM;
                 (e)      If an exchange transaction occurred, ensuring that all parts
                          subject to the sale were included and that the defense articles
                          were properly transported from the military bases and stored
                          properly;
                 (f)      Locating potential after-market purchasers of the defense
                          articles obtained from the USMM;
                 (g)      Negotiating the sale of the aircraft and aircraft parts to third
                          parties;
                 (h)      Advising AeroPower on the quality and value of helicopters
                          and the wisdom of making certain deals; and
                 (i)      Maximizing the resale of helicopters or defense articles to
                          AeroPower’s customers.

(Doc. # 158, ¶ 19.) On October 25, 1994, Matherly’s employment was solidified by an “independent

contractor contract” as well as a “power of attorney document” which allowed Matherly to represent

AeroPower in the aircraft transactions. (Id. at ¶ 20.) AeroPower paid Matherly on a commission

basis5 and reimbursed him for expenses.

        On May 6, 2003, Matherly’s employment contract was terminated because AeroPower

discovered that Matherly, through his company SM&T, had “engaged in wrongful conduct”

summarized as follows:

                 (a)      Removed valuable parts from AeroPower’s helicopters and
                          converted the parts to their own use;
                 (b)      Selected helicopters of higher quality for their own use and
                          the use of others and selected helicopters of lesser value for
                          AeroPower;
                 (c)      Obtained helicopter parts that should have belonged to
                          AeroPower and sold the parts to third parties without
                          AeroPower’s knowledge or consent;
                 (d)      Sold equipment on behalf of AeroPower to third parties for
                          more money than disclosed to AeroPower and kept the
                          difference between the sales price and the disclosed price;


   5
      According to the commission arrangement, Matherly received five percent of the sales price for any sales he
arranged up to $100,000, and two percent of the sales price for amounts in excess of $100,000. (Id. at ¶ 21.)

                                                       3
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                  (e)     Altered bills of sale in order to deceive AeroPower about
                          funds actually received or products actually sold;
                  (f)     Prevented AeroPower from receiving the higher value
                          helicopters on a first-in, first-out basis;
                  (g)     Sold the higher value helicopters to AeroPower’s customers
                          before AeroPower obtained the lesser value helicopters,
                          thereby flooding the market, preventing AeroPower from
                          selling its products, and further reducing the value of
                          AeroPower’s helicopters;
                  (h)     Falsely represented to AeroPower that Matherly was
                          obtaining higher value helicopters for AeroPower, reporting
                          and turning over all the money and property that belonged to
                          AeroPower, and otherwise acting in AeroPower’s best
                          interest;
                  (i)     Suppressed or concealed from AeroPower that Matherly was
                          obtaining higher value helicopters for himself and others, was
                          not reporting or turning over all the money and property that
                          belonged to AeroPower, was altering bills of sale to hide
                          money and property, and was otherwise not acting in
                          AeroPower’s best interest;
                  (j)     Falsely submitted expenses for reimbursement from
                          AeroPower while working for the interests of third parties
                          against those of AeroPower;
                  (k)     Acted in concert to accomplish the conduct described . . . ;
                          and
                  (l)     Associated in fact for the common purpose of enriching
                          themselves by defrauding AeroPower with respect to
                          AeroPower’s sale of equipment to the USMM and obtaining
                          defense articles from the USMM in return.

(Id. at ¶ 22.)

         In addition to the wrongful acts alleged above, the Second Amended Complaint describes

four specific aircraft transactions which form the basis of this lawsuit. (Id. at ¶¶ 23- 53.) In regard

to the four transactions, AeroPower includes allegations against Aero Records,6 the escrow agent for




  6
      Aero Records is an Oklahoma corporation.

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the transactions at issue, and two Aero Records employees, Schroeder7 and Crowell8 (collectively

“Aero Records defendants”). These four transactions are described below.

         First, in February 2001, Matherly brokered a deal to sell three AeroPower helicopters.

Although Matherly sold the three helicopters for $150,000, he represented to AeroPower that he sold

the helicopters for only $75,000, and changed the serial numbers on two of the bills of sale for the

helicopters.

         Second, in the summer of 2001, Matherly arranged to sell sixteen helicopters for

approximately $1.1 million but informed AeroPower that the sales price was only $832,000, a sum

described by Matherly as a “good deal.” (Id. at ¶ 28.) Matherly notified Aero Records that the total

sales price would be $1.1 million and AeroPower notified Aero Records of the sale for the lower

figure. AeroPower’s closing instructions to Aero Records “stated that ten helicopters were being

sold to Aero-Jet PMB for $520,000, that six helicopters were being sold to Construction Helicopters

for $312,000, and that the bills of sale were signed and left blank so that Aero Records could fill

in the names of the appropriate buyers.” (Id. at ¶ 31.) The closing instructions also listed the

specific serial numbers of the helicopters being sold to each buyer.

         Despite AeroPower’s closing instructions as to the identity of the ultimate purchasers, Aero

Records completed the bills of sale for ten of the helicopters in the name of Richard Slaney

(“Slaney”) and completed the bills of sale for four of the helicopters in the name of Lakeland

Helicopters. The total price paid for these fourteen helicopters by Slaney and Lakeland Helicopters

was over $1.1 million. However, Matherly, as duly authorized agent for AeroPower, instructed



  7
      Schroeder is the president of Aero Records and is an Oklahoma citizen.

  8
      Crowell is a title agent with Aero Records and is an Oklahoma citizen.

                                                          5
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Aero Records to disburse only $832,000 of this total purchase price to AeroPower.9 Further, Aero

Records prepared and sent to AeroPower a Statement of Receipt and Disbursement of Funds

showing that the sixteen helicopters listed in the closing instructions had been sold to Aero-Jet PMB

and Construction Helicopters for a total sales price of $832,000, even though only fourteen

helicopters were actually sold in this transaction.

           The third transaction occurred one month after the sale of the fourteen helicopters. Matherly

sold the remaining two helicopters for $100,000 to a third party without notifying AeroPower.10

According to AeroPower’s closing instructions to Aero Records, these two helicopters were to be

sold to Construction Helicopters. AeroPower complains that it received no funds from this aircraft

sale.

           Finally, in September 2001, Matherly sold a set of composite blades for $90,000 to a third

party without AeroPower’s knowledge.11 Unbeknownst to AeroPower, these composite blades had

been removed from one of the sixteen helicopters and Matherly had previously informed AeroPower

that the helicopter had no blades.

           According to AeroPower, in all four of these transactions “Aero Records failed to follow

AeroPower’s closing instructions and, instead, followed instructions from Defendant Matherly and

others . . . .” (Id. at ¶ 52.) AeroPower alleges that the defendants used the “United States mail,

private or commercial carriers, or telephonic and facsimile transmissions across interstate

commerce” in completing these transactions. (Id. at ¶ 51.)


    9
       The remainder of the sale amount was split between Matherly and Marty Smith (“Smith”), the owner of
Construction Helicopters.

  10
        Matherly also split the majority of the proceeds of this sale with Smith. (Id. at ¶ 46.)

  11
        Matherly and Smith split the proceeds of this sale. (Id. at ¶ 51.)

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B.     Procedural History

       On August 26, 2003, AeroPower filed this action against Defendants Matherly and SM&T.

(Doc. # 1, Compl.) A year after the case was filed, AeroPower discovered information that led it to

amend the complaint to include claims against the Aero Records defendants. (Doc. # 77.) The

amended complaint asserted numerous claims against all the defendants, including various violations

of RICO as well as various state law claims. (Doc. # 88, First Am. Compl.) On May 1, 2006, upon

the Magistrate Judge’s Recommendation, this court held that the amended complaint failed to

adequately allege RICO claims against the defendants. (Doc. # 154.) The court dismissed the

amended complaint but permitted AeroPower to file another amended complaint. (Id.)

       On June 6, 2006, AeroPower filed a Second Amended Complaint with exhibits attached.

(Doc. # 158.) The Second Amended Complaint alleges four federal RICO claims against the

defendants, 18 U.S.C. § 1962 (a)-(d), as well as state law claims for breach of contract, breach of

fiduciary duty, unjust enrichment, accounting, conversion, fraud, suppression, deceit, innocent

misrepresentation, promissory estoppel, and conspiracy. (Id.)

       On June 26, 2006, Matherly and SM&T filed an answer to the Second Amended Complaint

and alleged a counterclaim against AeroPower for breach of contract, fraud, and unpaid

commissions. (Doc. # 162.) AeroPower filed an answer to the counterclaim on July 13, 2006.

(Doc. # 172.)

       The defendants filed separate motions seeking dismissal of some of the claims alleged in the

Second Amended Complaint. (Docs. # 159 & 163.) The Aero Records defendants seek dismissal

of the RICO claims in the Second Amended Complaint for failure to state a claim under Federal

Rule of Civil Procedure 12(b)(6), and assert that this court lacks in personam jurisdiction over them


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under Federal Rule of Civil Procedure 12(b)(2). (Doc. # 160.) Defendants Matherly and SM&T

seek dismissal of the RICO claims, the state law claims for conspiracy and fraud, and the claims

alleged against SM&T under Federal Rule of Civil Procedure 12(b)(6). (Doc. # 163.) AeroPower

filed its opposition to the motions (Docs. # 187, 188, 189) and the Aero Records defendants filed

a reply (Doc. # 196).12 The motions are fully briefed and ripe for consideration by the court.13

                                     II. JURISDICTION AND VENUE

         AeroPower alleges that this court has subject matter jurisdiction over this action pursuant 28

U.S.C. § 1331 (federal question) and 28 U.S.C. § 1332 (diversity jurisdiction). (Doc. # 158.)

Defendant Matherly does not contest personal jurisdiction or venue.

                                       III. STANDARD OF REVIEW

         A Rule 12(b)(6) motion tests the legal sufficiency of the complaint. A court may dismiss a

complaint for failure to state a claim only if it is clear that no relief could be granted under any set

of facts that could be proven consistent with the allegations in the complaint. See Hishon v. King

& Spalding, 467 U.S. 69, 73 (1984); see also Wright v. Newsome, 795 F.2d 964, 967 (11th Cir. 1986)

(“[W]e may not . . . [dismiss] unless it appears beyond doubt that the plaintiff can prove no set of

facts in support of the claims in the complaint that would entitle him or her to relief.”) (citation

omitted). The court will accept as true all well-pleaded factual allegations and will view them in a

light most favorable to the nonmoving party. Hishon, 467 U.S. at 73. Furthermore, the threshold

is “exceedingly low” for a complaint to survive a motion to dismiss for failure to state a claim. See


   12
      Although given an opportunity to do so, Matherly and SM&T failed to file a reply to AeroPower’s opposition to
their motion to dismiss.

  13
    Exercising its discretion, the court declines to conduct an evidentiary hearing on the Aero Records defendants’ Rule
12(b)(2) motion to dismiss for lack of personal jurisdiction, and the court observes that no party has requested a hearing.
See Fed. R. Civ. P. 12(b)(2); see Robinson v. Giarmarco & Bill, P.C., 74 F.3d 253, 255 (11th Cir. 1996).

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Ancata v. Prison Health Servs., Inc., 769 F.2d 700, 703 (11th Cir. 1985).

       A Rule 12(b)(2) motion tests the court’s exercise of personal jurisdiction over a defendant.

The plaintiff bears the burden of establishing personal jurisdiction over a nonresident defendant. See

S & Davis Int’l, Inc. v. The Republic of Yemen, 218 F.3d 1292, 1303 (11th Cir. 2000). When the

issue of personal jurisdiction is decided on the briefs and accompanying evidence, but without a

discretionary evidentiary hearing, a plaintiff satisfies his or her burden by demonstrating a “prima

facie case of jurisdiction.” Francosteel Corp., Unimetal-Normandy v. M/V Charm, Tiki, Mortensen

& Lange, 19 F.3d 624, 626 (11th Cir. 1994); Madara v. Hall, 916 F.2d 1510, 1514 (11th Cir. 1990).

A plaintiff establishes a prima facie case by submitting evidence sufficient to defeat a motion for

judgment notwithstanding the verdict. See Delong Equip. Co. v. Washington Mills Abrasive Co.,

840 F.2d 843, 845 (11th Cir. 1988). Consonant with that standard of review, the court construes the

allegations in the complaint as true if they are uncontroverted by affidavits or deposition testimony.

See Bracewell v. Nicholson Air Servs., Inc., 748 F.2d 1499, 1504 (11th Cir. 1984). The Eleventh

Circuit has explained on more than one occasion that, “[i]f a plaintiff pleads sufficient material facts

to establish a basis for personal jurisdiction and a defendant then submits affidavits controverting

those allegations, ‘the burden traditionally shifts back to the plaintiff to produce evidence supporting

jurisdiction[,] unless those affidavits contain only conclusory assertions that the defendant is not

subject to jurisdiction.’” Whitney Info. Network, Inc. v. Xcentric Venture, LLC, 2006 WL 2243041,

*3 (11th Cir. 2006) (quoting Meier v. Sun Int'l Hotels, Ltd., 288 F.3d 1264, 1269 (11th Cir. 2002)).

If the evidence conflicts, the court makes reasonable inferences in favor of the plaintiff, particularly

when the jurisdictional questions are seemingly intertwined with the merits of the case. See Delong,

840 F.2d at 845.


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                                                 IV. DISCUSSION

             All defendants argue that AeroPower’s RICO claims should be dismissed in their entirety.

In addition, the Aero Records defendants argue that, assuming the RICO claims are dismissed, there

is no basis for this court to exercise personal jurisdiction over them.14 Defendants Matherly and

SM&T argue that SM&T should be dismissed from this case and that AeroPower’s fraud claims are

due to be dismissed. Defendants Matherly and SM&T also argue that, if the Aero Records

defendants are dismissed, then the state law conspiracy claim is due to be dismissed. AeroPower

responds that both its RICO and state law claims confer, independently, personal jurisdiction on this

court. Furthermore, AeroPower argues that all of its claims are sufficiently pled.

             The court addresses each of these arguments in turn.

A.           Abandoned Claims

             In response to the motions presently before the court and in the course of litigation,

AeroPower has explicitly abandoned some of its claims. Specifically, AeroPower “concede[d] that

Aero Records is entitled to summary judgment on the RICO claims under 18 U.S.C. § 1962(a) and

(b)” and “agree[d] to dismiss SM&T as a defendant in this case.” (Docs. # 139 at 30 n.8; 189 at ¶1.)

Furthermore, in the proposed pretrial order submitted by the parties for the pretrial conference held

on July 31, 2006, AeroPower conceded that the defendants are entitled to summary judgment on its

RICO claims under 18 U.S.C. § 1962(a) and (b).15 Accordingly, the defendants’ motions are due

to be granted in relation to these claims.




     14
          RICO provides for nationwide service of process in private suits. See 18 U.S.C. § 1965(d).

     15
          A status conference was held in lieu of this scheduled pretrial conference. (See Docs. # 181 & 183.)

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B.       RICO Claims

         All of the defendants move to dismiss the remaining RICO claims brought pursuant to 18

U.S.C. § 1962(c) and (d). In the Second Amended Complaint, AeroPower alleges that the

defendants engaged in a scheme to defraud AeroPower of money by “means of false and fraudulent

pretenses and representations,” and committed multiple acts of mail and wire fraud in furtherance

of the scheme, establishing a pattern of racketeering activity. (Doc. # 158 at ¶ 96.) In addition to

seeking treble damages, AeroPower seeks attorneys fees and court costs.

         Pursuant to 18 U.S.C. § 1962(c), it is illegal “for any person employed by or associated with

any enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to

conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through a

pattern of racketeering activity . . . .” 18 U.S.C. § 1962(c). Under 18 U.S.C. § 1962(d), it is

“unlawful for any person to conspire to violate any of the provisions of subsection (a), (b), or (c) of

[§ 1962].” The court in turn addresses each of these RICO claims.

         1.        RICO Claim Under Section 1962(c)

         In order to establish a federal civil RICO violation under § 1962(c), AeroPower is required

to “satisfy four elements of proof: (1) conduct (2) of an enterprise (3) through a pattern (4) of

racketeering activity.” Williams v. Mohawk Indus., Inc., 465 F.3d 1277, 1282 (11th Cir. 2006)

(quoting Jones v. Childers, 18 F.3d 899, 910 (11th Cir. 1994)).16 The plaintiff in a RICO case must

identify and prove a pattern of racketeering activity, defined as two “predicate acts” of racketeering

activity within a 10 year period. See 18 U.S.C. § 1961(5). Thus, in order to survive a motion to


   16
      These four requirements apply whether the RICO claim is civil or criminal in nature. Id. However, in civil RICO
cases, “the plaintiffs must also satisfy the requirements of 18 U.S.C. § 1964(c). . . . [T]hus, . . . [the plaintiffs] must show
(1) the requisite injury to ‘business or property,’ and (2) that such injury was ‘by reason of’ the substantive RICO
violation.” Id. at 1282-83.

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dismiss, the plaintiff must allege facts sufficient to support at least two of the predicate acts of

racketeering activity. Republic of Panama v. BCCI Holdings, 119 F.3d 935, 949 (11th Cir. 1997).

RICO defines “racketeering activity” as the enumerated crimes listed in 18 U.S.C. § 1961(1),

including mail and wire fraud. 18 U.S.C. § 1961(1)(B); see also18 U.S.C. §§ 1341 (mail fraud),

1343 (wire fraud).17 In this action, AeroPower alleges that the defendants violated the federal mail

and wire fraud statutes, and thus committed the requisite predicate acts for civil RICO liability.

          A plaintiff must show the following elements to establish liability under the federal wire and

mail fraud statutes: “(1) that defendants knowingly devised or participated in a scheme to defraud

[the plaintiff], (2) that they did so willingly with an intent to defraud, and (3) that the defendants

used the U.S. mails or the interstate wires for the purpose of executing the scheme.” Langford v.

Rite Aid of Ala., Inc., 231 F.3d 1308, 1312 (11th Cir. 2000).” Hence, in order to survive the motions

to dismiss, AeroPower must allege facts sufficient to support at least two acts of mail and wire fraud.

See Republic of Panama, 119 F.3d at 949.

                   a.        Federal Rule of Civil Procedure 9(b)

          The defendants argue that AeroPower’s RICO claims are due to be dismissed on the grounds

that they are not properly pled with particularity as required under Rule 9(b) of the Federal Rules

of Civil Procedure. Rule 9(b) of the Federal Rules of Civil Procedure provides that, “[i]n all


  17
       The federal mail and wire fraud statutes provide:

          “W hoever, having devised . . . any scheme or artifice to defraud . . . for the purpose of executing such
          scheme . . . places in any post office . . . any matter or thing whatever . . . to be delivered by the Postal
          Service . . . shall be fined under this title or imprisoned not more than 20 years, or both.” 18 U.S.C.
          § 1341 (mail fraud).

          “Whoever, having devised . . . any scheme or artifice to defraud . . . transmits . . . by means of wire
          . . . any writings, signs, signals, pictures, or sounds for the purpose of executing such scheme . . . shall
          be fined under this title or imprisoned not more than 20 years, or both.” 18 U.S.C. § 1343 (wire
          fraud).

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averments of fraud or mistake, the circumstances constituting fraud or mistake shall be stated with

particularity.” Fed. R. Civ. P. 9(b). This “particularity rule serves an important purpose in fraud

actions by alerting defendants to the precise misconduct with which they are charged and protecting

defendants against spurious charges of immoral and fraudulent behavior.” Brooks v. Blue Cross &

Blue Shield of Fla., Inc., 116 F.3d 1364, 1370-71 (11th Cir. 1997) (internal quotations and citation

omitted). “The application of the rule, however, must not abrogate the concept of notice pleading.”

Id. Rule 9(b) applies to RICO actions based on mail or wire fraud. Durham v. Bus. Mgmt. Assocs.,

847 F.2d 1505, 1511 (11th Cir. 1988).

          The Eleventh Circuit has elucidated that

          Rule 9(b) is satisfied if the complaint sets forth (1) precisely what statements were
          made in what documents or oral representations or what omissions were made, and
          (2) the time and place of each such statement and the person responsible for making
          (or, in the case of omissions, not making) same, and (3) the content of such
          statements and the manner in which they misled the plaintiff, and (4) what the
          defendants obtained as a consequence of the fraud.

United States ex rel. Clausen v. Lab. Corp. of Am., Inc., 290 F.3d 1301, 1310 (11th Cir. 2002).

However, “alternative means are also available to satisfy the rule.” Durham, 847 F.2d at 1512.18

          In this case, AeroPower’s Second Amended Complaint satisfies this standard.19 According

to the factual allegations in the Second Amended Complaint:



   18
     In other cases, the Eleventh Circuit has found challenged complaints-- read together with other documents in the
record--to be sufficient. In Durham, for example, the Circuit observed that “[a]llegations of date, time or place satisfy
the Rule 9(b) requirement that the circumstances of the alleged fraud must be pleaded with particularity, but alternative
means are also available to satisfy the rule.” 847 F.2d at 1512 (emphasis in original). In that case, which involved
summary judgment on mail fraud used as a predicate RICO act, the Circuit found that affidavits stating the title, sender
and date of a specific letter received in addition to references to receiving additional letters by mail “[f]rom time to time
during the next several years” from other named individuals satisfied Rule 9(b) concerning the use of mails. Id.

   19
      The level of specificity with which the Aero Records defendants have responded, in its motion to dismiss, to the
Second Amended Complaint’s numerous factual allegations is indication enough that the defendants have been alerted
to the “precise misconduct with which they are charged.” Durham, 847 F.2d at 1511.

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         (1)      Matherly removed valuable parts from AeroPower’s helicopters and converted the
                  parts to [his] own use.
         (2)      Matherly obtained helicopter parts that should have belonged to AeroPower and sold
                  the parts to third parties without AeroPower’s knowledge or consent.
         (3)      Matherly sold equipment on behalf of AeroPower to third parties for more money
                  than disclosed to AeroPower and kept the difference between the sales price and the
                  disclosed price.
         (4)      Matherly altered bills of sale in order to deceive AeroPower about funds actually
                  received or products actually sold.
         (5)      Matherly falsely represented that he was acting in AeroPower’s best interest and
                  suppressed or concealed that he was not acting in AeroPower’s best interest.
         (6)      Matherly falsely submitted expenses for reimbursement from AeroPower while
                  working for the interests of third parties against those of AeroPower.
         (7)      Aero Records failed to follow [AeroPower’s] closing instructions and, instead,
                  followed instructions from Defendant Matherly and others in completing the sales
                  transactions of [AeroPower’s] property.
         (8)      Defendants used the United States mail, private or commercial carriers, or telephonic
                  facsimile transmissions across interstate commerce . . . .
         (9)      As a result of Defendants’ taking money, property, and business opportunities and
                  the other conduct described above, AeroPower has been damaged by the loss of
                  money and property.

(Doc. # 158 at ¶¶ 22, 52, 53, 55.) The Second Amended Complaint then lists and describes 68

documents which evidences the defendants’ use of the mails and interstate wires.20 (Id. at ¶ 53.)

AeroPower identifies each document by Bates stamp and provides (1) the date of each letter,

invoice, facsimile or statement, (2) the name of the sender and recipient for each document, (3) the

geographic location of each sender and recipient, and (4) a brief description of what the document

is regarding. (Id. at 13) (“AeroRecords-000099 Fax to National City Bank (Ohio) from Aero

Records dated 6/4/2001 regarding wiring instructions for funds to be sent to Defendant Matherly in

Alabama and Construction Helicopters in California”). Considering the allegations contained in the

Second Amended Complaint and the attached documents, the court finds that AeroPower has

satisfied the standard of particularity under Rule 9(b).


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       Copies of these documents are attached to the Second Amended Complaint. (Doc. # 158, Ex. A.)

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                 b.      Pattern of Racketeering Activity

        The defendants argue that AeroPower’s RICO claims are due to be dismissed because the

allegations in the Second Amended Complaint fail to satisfy the requirement of a pattern of

racketeering activity. The court agrees.

        To successfully allege a pattern of racketeering activity, a plaintiff must allege that: “(1) the

defendants committed two or more predicate acts within a ten-year time span; (2) the predicate acts

were related to one another; and (3) the predicate acts demonstrated criminal conduct of a continuing

nature.” Jackson v. BellSouth Telecomms., 372 F.3d 1250, 1264 (11th Cir. 2004) (citations omitted).

“In order to prove a ‘pattern of racketeering activity’ it is not sufficient to simply establish two

isolated predicate acts. RICO targets ongoing criminal activity, rather than sporadic, isolated

criminal acts . . . .” Id.

        The Supreme Court has held that the two or more predicate acts must be related and

demonstrate “continuity.” H.J. Inc. v. Northwestern Bell Tele. Co., 492 U.S. 229, 239 (1989). In

explaining RICO’s continuity requirement, the Supreme Court has stated:

        “Continuity” is both a closed- and open-ended concept, referring either to a closed
        period of repeated conduct, or to past conduct that by its nature projects into the
        future with a threat of repetition . . . . A party alleging a RICO violation may
        demonstrate continuity over a closed period by proving a series of related predicates
        extending over a substantial period of time. Predicate acts extending over a few
        weeks or months and threatening no future criminal conduct do not satisfy this
        requirement: Congress was concerned in RICO with long-term criminal conduct.
        Often a RICO action will be brought before continuity can be established in this way.
        In such cases, liability depends on whether the threat of continuity is demonstrated.

Id. at 241-42 (emphasis in original). In “open-ended” cases that rely on alleging the threat of

continuity, plaintiffs can meet their burden by establishing either that “the racketeering acts

themselves include a specific threat of repetition extending indefinitely into the future,” or that “the



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predicate acts or offenses are part of an ongoing entity's regular way of doing business.” Id. at 242.

In light of the foregoing principles, the court finds that AeroPower has failed to establish either

closed- or open-ended continuity.21

            Turning first to closed-ended continuity, the court notes that the Second Amended Complaint

fails to allege a specific period of time for the unlawful conduct. The Second Amended Complaint

discusses transactions involving the defendants which occurred in February 2001 and continued

through September 2001.22 The relevant period of time, therefore, that the predicate acts can be

considered to have been ongoing is approximately eight months.                              Although “no court has

unequivocally declared a minimum period of time that can be considered ‘substantial,’” the Eleventh

Circuit has found that nine months is not an adequately substantial period of time. Jackson, 372

F.3d at 1266-1267. In light of Jackson, AeroPower’s alleged eight-month time period is insufficient

to satisfy closed-ended continuity.23 Moreover, in cases like this one, “where the RICO allegations

concern only a single scheme with a discrete goal, the courts have refused to find a closed-ended

pattern of racketeering even when the scheme took place over longer periods of time.” Id. at 1267.

Here, AeroPower alleges that the defendants engaged in a single scheme to defraud AeroPower of



  21
      For the sake of analyzing whether AeroPower properly alleged the continuity element of a pattern of racketeering
activity, the court takes as true AeroPower’s allegations that the defendants are an enterprise and that the alleged unlawful
conduct constitutes predicate acts for RICO purposes.

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     There is no dispute that these predicate acts, if they occurred, are related. See Pelletier v. Zweifel, 921 F.2d 1465,
1496-97 (11th Cir. 1991) (“Predicate acts are related if they have the same or similar purposes, results, participants,
victims, or methods of commission, or otherwise are interrelated by distinguishing characteristics and are not isolated
events.” (internal quotation marks and citation omitted)).

       23
        See also Downing v. Halliburton & Assocs., Inc., 812 F. Supp. 1175, 1182-83 (M.D. Ala. 1993) (finding
commission of twelve acts completed within eight-month period did not constitute an “ongoing, continuous criminal
‘pattern of racketeering’”), aff’d without opinion, 13 F.3d 410 (11th Cir. 1994); Uni*Quality, Inc. v. Infotronx, Inc., 974
F.2d 918, 922 (7th Cir. 1992) (court concluded that “one scheme that lasted at most seven to eight months” was
“precisely the type of short-term, closed-ended fraud that . . . [the Seventh Circuit] has held does not constitute a
pattern”).

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money and property in the four aircraft transactions at issue (three of which involve the same group

of sixteen helicopters). Although Matherly was employed by AeroPower for almost ten years,

AeroPower does not allege that Matherly engaged in such conduct with other escrow agents prior

or subsequent to this eight-month period. Considering the finite nature of the alleged racketeering

activity, and its alleged occurrence over a relatively modest period of time, this court concludes that

AeroPower failed to meet the closed-ended continuity requirement necessary to sustain a RICO

violation.

       Further, the allegations in the Second Amended Complaint plainly fail to allege facts

sufficient to establish open-ended continuity. While AeroPower generally alleges that the defendants

engaged in the alleged “conduct” as “part of [their] regular way of doing business,” (Doc. # 158 at

¶ 54), AeroPower offers no factual allegations which support this conclusory allegation. Such

conclusory allegations, alone, are insufficient to survive a motion to dismiss. See Oxford Asset

Mgmt., Ltd. v. Jaharis, 297 F.3d 1182, 1199 (11th Cir. 2002) (“[C]onclusory allegations,

unwarranted deductions of facts or legal conclusions masquerading as facts will not prevent

dismissal.”). Here, there is no indication that there are other incidents where the defendants have

conducted themselves in the same manner and AeroPower has offered no prior examples of how this

conduct factors in with the defendants’ regular business practices. In addition, nowhere in the

Second Amended Complaint does AeroPower suggest that the defendants engaged in predicate acts

of mail and wire fraud in aircraft transactions subsequent to the four transactions at issue, although

“Aero Records acted as the escrow agent in several later transactions involving the sale of

AeroPower’s helicopters.” (Doc. # 158 at ¶ 26.) Further, nothing in the Second Amended

Complaint indicates that there is a threat of repetition of the alleged predicate acts by the defendants

in the future. The allegations in the Second Amended Complaint do not indicate that there were

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other victims of this alleged scheme and AeroPower has not alleged that the defendants treated other

clients in the same or similar manner.

       Accordingly, the court finds that AeroPower has failed to allege facts establishing continuity

of the defendants’ conduct, and has therefore failed to allege that the defendants engaged in a pattern

of racketeering activity. Hence, taking as true the allegations of the Second Amended Complaint,

the court concludes that AeroPower fails to state a RICO claim under Section 1962(c) and, as a

result, this RICO claim is due to be dismissed.

       2.      RICO Conspiracy Claim

       As previously stated, 18 U.S.C. § 1962(d) makes it illegal to conspire to violate a substantive

RICO provision. To state a claim under § 1962(d), AeroPower “must allege facts to support an

agreement to violate a substantive provision of the RICO statute.” Carter v. MGA, Inc., 189 Fed.

Appx. 893, 895 (11th Cir. 2006). In the Second Amended Complaint, AeroPower generally alleges

that the defendants “unlawfully and willfully combined, conspired, confederated, and agreed with

each other to violate [18 U.S.C. § 1962(c)], as described above.” (Doc. # 158 at ¶ 106.) However,

the conclusory allegation that the defendants conspired with each other is insufficient to survive a

motion to dismiss as AeroPower alleged no facts to show or to create a reasonable inference that the

defendants made an agreement. See Jaharis, 297 F.3d at 1199.

       Even assuming arguendo that such an agreement existed between the defendants,

AeroPower’s RICO conspiracy claim still fails. “To be guilty of conspiracy, . . parties must have

agreed to commit an act that is itself illegal - parties cannot be found guilty of conspiring to commit

an act that is not itself against the law.” Jackson, 372 F.3d at 1269 (quoting United States v.

Vaghela, 169 F.3d 729, 732 (11th Cir. 1999)). The same principle applies in civil conspiracies. See

Spain v. Brown & Williamson Tobacco Corp., 363 F.3d 1183, 1199 (11th Cir. 2004) (“A conspiracy

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itself furnishes no cause of action. The gist of the action is not the conspiracy but the underlying

wrong that was allegedly committed. If the underlying cause of action is not viable, the conspiracy

claim must also fail.” (internal quotation marks and citation omitted)). Because this court has

already found that the factual allegations in the Second Amended Complaint fail to state a

substantive RICO claim and the RICO conspiracy claim adds no additional factual allegations,

AeroPower’s RICO conspiracy claim fails. See Jackson, 372 F.3d at 1269 (holding that RICO

conspiracy claim failed because alleged underlying conduct did not constitute a RICO violation).

Accordingly, the defendants are entitled to dismissal of AeroPower’s RICO conspiracy claim.

C.       Personal Jurisdiction over Aero Records Defendants

         With the RICO claims dismissed, the Aero Records defendants argue that personal

jurisdiction over them is lacking and that, pursuant to Rule 12(b)(2) of the Federal Rules of Civil

Procedure, they are due to be dismissed as defendants in this case. In a diversity action,24 like this

one, “a federal court may assert jurisdiction over a nonresident defendant only to the extent

permitted by the long-arm statute of the forum State, and only if the exercise of the jurisdiction

comports with the requirements of the Due Process Clause of the Fourteenth Amendment.”

Vermeulen v. Renault U.S.A., Inc., 975 F.2d 746, 753 (11th Cir. 1992), op. modified and superseded

on other grounds, 985 F.2d 1534 (11th Cir. 1993). However, “[w]hen the courts of the forum State

have interpreted the forum’s long-arm statute to confer jurisdiction to the limits allowed by federal

due process, state law need not be applied: [the court] need only ask whether the exercise of

jurisdiction over the nonresident defendant comports with due process.” Id. Here, Alabama’s long-


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       According to the Second Amended Complaint, AeroPower has invoked both this court’s diversity and federal
question jurisdiction. (Doc. # 158 at ¶ 12.) However, due to the dismissal of AeroPower’s RICO claims, there is no
basis for federal question jurisdiction. The court therefore has subject matter jurisdiction over this action based upon
diversity jurisdiction as complete diversity exists and the amount in controversy is more than $75,000.

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arm statute authorizes personal jurisdiction to the fullest extent permitted by the United States

Constitution. See Mutual Serv. Ins. Co. v. Frit Indus., Inc., 358 F.3d 1312, 1319 (11th Cir. 2004)

(“Alabama’s long-arm statute authorizes Alabama courts to assert jurisdiction to the fullest extent

constitutionally permissible.”); Ala. R. Civ. P. 4.2(a)(2). Thus, the sole issue in this court’s

jurisdictional analysis is whether Alabama’s exercise of jurisdiction over the Aero Records

defendants violates due process.

       “The Due Process Clause protects one’s liberty interests by shielding an individual from

binding judgments in a forum with which he or she has established no meaningful contacts, ties or

relations.” Ashton v. Florala Mem’l Hosp., 2006 WL 2864413, *4 (M.D. Ala. 2006) (citing Int’l

Shoe Co. v. Washington, 326 U.S. 310, 319 (1945)). Due Process “requires that the defendant have

minimum contacts with the forum state and that the exercise of jurisdiction over the defendant does

not offend ‘traditional notions of fair play and substantial justice.’” Mutual Serv. Ins. Co., 358 F.3d

at 1319 (citation omitted).

       In assessing a defendant’s minimum contacts with the forum state, courts have distinguished

between contacts establishing “specific” and “general” personal jurisdiction.             Helicopteros

Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414 n.8, n.9 (1984) (“Helicopteros”).


       Specific [personal] jurisdiction arises out of a party’s activities in the forum that are
       related to the cause of action alleged in the complaint. It has long been recognized
       that a court has the minimum contacts to support specific jurisdiction only where the
       defendant “purposely avails itself of the privilege of conducting activities within the
       forum State, thus invoking the benefits and protections of its laws.” The requirement
       that there be minimum contacts is grounded in fairness. It assures that “the
       defendant’s conduct and connection with the forum State [is] such that he should
       reasonably anticipate being haled into court there.”

Consol. Dev. Corp. v. Sherritt, Inc., 216 F.3d 1286, 1291 (11th Cir. 2000) (internal citations

omitted), cert. denied, 534 U.S. 827 (2001). On the other hand, general personal jurisdiction derives

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from the defendant’s contacts with the forum that are unrelated to the action being litigated. Consol.

Dev. Corp., 216 F.3d at 1292. “The due process requirements for general personal jurisdiction are

more stringent than for specific personal jurisdiction, and require a showing of continuous and

systematic general business contacts between the defendant and the forum state.” Id.

         In the Second Amended Complaint, AeroPower alleges that “the Court . . . has personal

jurisdiction over [the Aero Records defendants] because they have sufficient minimum contacts with

Alabama in that they engaged in a conspiracy with Alabama residents to achieve the conduct

described . . . which involved mailing documents to Alabama, disbursing fraudulently obtained funds

to an Alabama resident, wiring money to an Alabama bank account, making telephone calls to

Alabama, and faxing documents to Alabama . . . .” (Doc. # 158 at ¶ 11.) These allegations speak

to the exercise of specific personal jurisdiction over the Aero Records defendants. There are no

allegations in the Second Amended Complaint which assert that the Aero Records defendants had

continuous and systematic contacts with the State of Alabama sufficient to satisfy the standard for

exercising general personal jurisdiction.25 The issue before this court, therefore, is one of specific,

not general, personal jurisdiction.

         The Eleventh Circuit has formulated a three-part test for ascertaining whether there are

sufficient minimum contacts for a court to exercise specific personal jurisdiction over a nonresident

defendant:

         First, the contacts must be related to the plaintiff's cause of action or have given rise

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     In addition, the relevant evidence submitted to the court by the Aero Records defendants does not support a finding
of general personal jurisdiction. (Doc. # 126, Ex. G, Sharon Schroeder Aff. at 3) (“Aero Records only does business in
the State of Oklahoma. Aero Records has never operated as a business in the State of Alabama[,] . . . [never] been
licensed or authorized to do business in Alabama[,] . . . never owned property in Alabama[,] . . . [never] had a mailing
address in Alabama[,] . . . never had a bank account in Alabama, nor paid taxes in Alabama[,] . . . never advertised in
Alabama[,] . . . [and] does not have and has never had any employees, agents, or servants who are citizens of the State
of Alabama.”). AeroPower did not submit any evidence pertaining to the issue of personal jurisdiction.

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          to it. Second, the contacts must involve “some act whereby the defendant purposely
          avails itself of the privilege of conducting activities within the forum . . . , thus
          invoking the benefits and protections of its laws.” Third, the defendant's contacts
          with the forum must be “such that [the defendant] could reasonably anticipate being
          haled into court there.”

Vermeulen, 985 F.2d at 1546 (internal citations omitted). “When considering the Vermeulen factors,

a court also should remain mindful that ‘[i]t is well settled that specific jurisdiction may arise

without the nonresident defendant's ever stepping foot upon the forum state's soil or may arise

incident to the commission of a single act directed at the forum.’” Ashton, 2006 WL at *4 (quoting

Bullion v. Gillespie, 895 F.2d 213, 216 (5th Cir. 1990)).

          Considering the three-part minimum contacts test articulated in Vermeulen, the court finds

that the requisite minimum contacts for the exercise of specific jurisdiction over the Aero Records

defendants do not exist. First, the allegations in the Second Amended Complaint and evidence

before the court establish that, as a result of the Aero Records defendants’ performance as escrow

agent in the transactions at issue, they26 had telephone, fax, mail and wire communications with

Matherly, an Alabama resident. All of these contacts with Alabama were for the purpose of

completing the aircraft transactions at issue, and these aircraft transactions form the predicate of

AeroPower’s cause of action. Therefore, the first prong of the Vermeulen analysis is satisfied as the

Aero Records defendants’ contacts with the State of Alabama are related to AeroPower’s cause of

action.

          The second prong of the Vermeulen analysis, however, is where AeroPower’s assertion of

personal jurisdiction fails. As previously noted, the Aero Records defendants had virtually no


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      For the sake of convenience, the court collectively refers to the Aero Records defendants’ contacts with Alabama
in this Opinion. Although Crowell engaged in different activities in performing the escrow agent responsibilities than
Schroeder, both of them performed their tasks in the course of their employment at Aero Records.

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contact with Alabama other than telephone, fax, mail and wire communications with Matherly in

relation to the aircraft transactions. Aero Records is not incorporated in Alabama, or licensed,

registered, or authorized to do business in Alabama.27 Aero Records does not have offices, agents

or bank accounts in Alabama, nor do it has officers or employees located in Alabama.28 There is no

evidence that an Aero Record employee traveled to Alabama in connection with this matter.29

Moreover, there is simply no evidence that the Aero Records defendants initiated any contact

whatsoever with Alabama concerning the aircraft transactions at issue. The evidence establishes that

Aero Records was contacted in Oklahoma by the parties involved in these transactions to provide

title and escrow services.30 Further, the aircraft bills of sale were not executed in or delivered to

Alabama, the escrow funds were not held in Alabama, none of the aircraft was sold to a purchaser

in Alabama, and the aircraft transactions at issue were not closed in Alabama.31 Finally, there is no

evidence which indicates that the aircraft at issue was located in Alabama nor that any of

AeroPower’s injuries occurred in Alabama. See Bowling v. Founders Title Co., 773 F.2d 1175 (11th

Cir. 1985) (finding that Alabama had personal jurisdiction over a California defendant who made

misrepresentations by phone and mail to an Alabama plaintiff regarding transaction that the out-of-

state defendant knew involved the sale of land located in Alabama).

          Considering the quality, nature, and extent of the Aero Records defendants’ contacts with



  27
       (Schroeder Aff. at ¶ 3.)

  28
       (Id.)

  29
       (Id. at ¶ 6.)

  30
       (Id. at ¶ 7.)

  31
       (Id. at ¶¶ 8-10.)

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Alabama, as well as the association between these contacts and the instant litigation, the court finds

that none of said defendants’ contacts with Alabama can support a finding of purposeful activity

invoking the benefits and protections of Alabama. Although the Aero Records defendants’ contacts

were tangentially related to Alabama, the court finds that the “nature and quality and the

circumstances of [their] commission create only an ‘attenuated’ affiliation with the forum.” Burger

King Corp. v. Rudzewicz, 471 U.S. 462, 476 n. 18 (1985) (citations omitted). See Ashton, 2006 WL

at *6 (“Courts have no power over a nonresident defendant whose contact with the jurisdiction are

‘random,’ ‘fortuitous’ or ‘attenuated,’ or the result of the unilateral activity of another party or a third

person.”) (citations omitted).

         Having found no purposeful availment, the court pretermits full analysis of the third prong

of the Vermeulen analysis. However, it logically follows that because the Aero Records defendants

did not purposefully direct any activity at the forum state, their contacts are not “such that [they]

could reasonably anticipate being haled into court [in Alabama].” Vermeulen, 985 F.2d at 1546.32

See Ruiz de Molina v. Merritt & Furman Ins. Agency, Inc., 207 F.3d 1351, 1356 (11th Cir. 2000)

(“[I]t is important to remember that the conduct at issue is that of the defendants . . . benefits of

doing business in Alabama such that the notions of reasonableness and fairness are not offended by

requiring them to defend themselves in an Alabama court.”)

         In short, there is no evidence that the Aero Records defendants’ contacts with Alabama were

continuous and systematic so as to support the court’s exercise of general personal jurisdiction over

them. Moreover, the court concludes that the Vermeulen test for determining minimum contacts is


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      Furthermore, because the court finds that the Aero Records defendants do not have the requisite minimum contacts
with Alabama necessary to support the exercise of personal jurisdiction over them, the court need not address the fairness
tier of the due process inquiry.

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not satisfied; thus, this court’s exercise of specific personal jurisdiction over the Aero Records

defendants is also unsupported. Personal jurisdiction over the Aero Records defendants, therefore,

is lacking and AeroPower’s claims against said defendants are due to be dismissed pursuant to Rule

12(b)(2) of the Federal Rules of Civil Procedure.33

D.        Conspiracy Claim

          In the Second Amended Complaint, AeroPower alleges that Matherly, SM&T and the Aero

Records defendants engaged in a conspiracy “to deprive AeroPower of its money and property.”

(Doc. # 158 at ¶¶ 85-87.) Due to the dismissal of SM&T and the Aero Records defendants from this

lawsuit, Matherly argues that AeroPower’s conspiracy claim is due to be dismissed. The court

agrees.

          “Civil conspiracy is a combination of two or more persons to accomplish an unlawful end

or to accomplish a lawful end by unlawful means.” Hooper v. Columbus Reg’l Healthcare Sys., Inc.,

__ So. 2d __, 2006 WL 2988689, *4 (Ala. 2006) (citations omitted). Because the court has

determined that SM&T and the Aero Records defendants are due to be dismissed from this action,

AeroPower’s conspiracy claim must fail because there is no “combination of two or more persons”

to support a conspiracy theory. Otherwise stated, the conspiracy claim cannot proceed against

Matherly alone. See McAndrew v. Lockheed Martin Corp., 206 F.3d 1031, 1036 (11th Cir. 2000)

(“[I]t is not legally possible for an individual person to conspire with himself . . . .”). Accordingly,

Matherly’s motion to dismiss is due to be granted in relation to AeroPower’s conspiracy claim.

E.        Fraud Claim

          In his motion to dismiss, Matherly requests the court to dismiss AeroPower’s fraud claim.


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     Consequently, it is unnecessary for the court to address the Aero Records defendants alternative motion for
summary judgment.

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(Doc. # 163 at 4.) However, in his memorandum brief in support of the motion to dismiss, Matherly

fails to argue to the court why the fraud claim is subject to dismissal. (Doc. # 164 at 11) (seeking

dismissal of SM&T, the RICO claims, and the conspiracy claim). Accordingly, the court finds that

Matherly has abandoned his pursuit of dismissal of this claim. The motion to dismiss is therefore

due to be denied in relation to AeroPower’s fraud claim.

F.     Ability to Amend Complaint

       This marks AeroPower’s third try at drafting a complaint. Ordinarily, when a party files an

insufficient complaint, a court will direct the party to file a properly drafted one that complies with

the notice provisions of the pleading rules or grant a motion for more definite statement pursuant to

Rule 12(e) of the Federal Rules of Civil Procedure. In view of the court's admonitions and directions

in previous proceedings and orders, no other option exists other than dismissing the deficiently-pled

claims in the Second Amended Complaint pursuant to Rule 12(b)(6). See Welch v. Laney, 57 F.3d

1004, 1009 (11th Cir. 1995) (noting that district court may dismiss a case for failure to meet the

pleading rules where court granted plaintiff the opportunity to amend after first determining that the

original complaint was deficient and plaintiff failed to properly amend to cure deficiency). Thus,

AeroPower will not be afforded further opportunities to amend its complaint.



                                        V. CONCLUSION

       For the foregoing reasons, it is hereby ORDERED that:

       1.      Matherly and SM&T ’s motion to dismiss (Doc. # 163) is DENIED in relation to the

               fraud claim and GRANTED in all other respects.

       2.      The Aero Records defendants’ motion to dismiss the RICO claims pursuant to Rule


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         12(b)(6) of the Federal Rules of Civil Procedure (Doc. # 159) is hereby GRANTED.

  3.     Plaintiff’s RICO claims under 18 U.S.C. § 1962(a), (b), (c) and (d) are DISMISSED.

  4.     Plaintiff’s state law conspiracy claim is DISMISSED.

  5.     The Aero Records defendants’ motion to dismiss pursuant to Rule 12(b)(2) of the

         Federal Rules of Civil Procedure (Doc. # 159) is hereby GRANTED. All state law

         claims asserted against Aero Records and Title Company, Sharon Schroeder and Lori

         Crowell are hereby DISMISSED without prejudice and said defendants are hereby

         DISMISSED as defendants in this lawsuit.

  6.     The motions for summary judgment (Docs. # 159 & 124) filed by Defendants Aero

         Records, Schroeder and Crowell are DENIED as moot.

  DONE this 18th day of January, 2007.


                                   /s/ W. Keith Watkins
                               UNITED STATES DISTRICT JUDGE




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